
439 So. 2d 717 (1983)
Earl Wayne MAXWELL
v.
CITY OF MOBILE.
1 Div. 460.
Court of Criminal Appeals of Alabama.
October 4, 1983.


*718 AFTER REMANDMENT
BOWEN, Presiding Judge.
Maxwell's conviction is reversed on authority of Alabama Supreme Court's finding that error was preserved and that the City failed to prove a prima facie case in that the City had failed to establish jurisdiction and had failed to plead and prove the ordinance under which Maxwell was prosecuted. Maxwell v. City of Mobile, 439 So. 2d 715 (Ala.1983). This cause must be rendered under Burks v. United States, 437 U.S. 1, 98 S. Ct. 2141, 57 L. Ed. 2d 1 (1978).
REVERSED AND RENDERED.
All Judges concur.
